                UNITED STATES DISTRICT COURT FOR THE
                   EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE



 MARK A. SCOTT and PAUL E.                    )
 SCOTT                                        )
                                              )
 v.                                           )             NO. 2:08-CV-296
                                              )
 REGIONS BANK, ET AL.                         )


                                      ORDER

             This matter is before the Court to consider the Report and

 Recommendation of the United States Magistrate Judge, [Doc. 149], dated January 26,

 2009. In that Report and Recommendation the magistrate judge recommends that the

 Motion to Dismiss, [Doc. 110], filed by Defendant Helen Scott and joined by

 Defendant Andrea LaFollette be denied. The defendants have filed several objections

 to this report and recommendation.

             After careful and de novo consideration of the record as a whole, and

 after careful consideration of the Report and Recommendation of the United States

 Magistrate Judge, and for the reasons set out in that Report and Recommendation,

 which are incorporated by reference herein, it is hereby ORDERED that the

 defendants’ objections are OVERRULED , that this Report and Recommendation is




Case 2:08-cv-00296-JRG-WBC     Document 159       Filed 03/11/10   Page 1 of 2   PageID
                                     #: 920
 ADOPTED and APPROVED, [Doc. 149], and that Defendants’ Motion to Dismiss

 is DENIED, [Doc. 110]. It is further ORDERED that Defendant Helen Scott’s

 “Motion for Hearing and Motion to Stay Proceedings,” [Doc. 138], is DENIED.

            ENTER:

                                                 s/J. RONNIE GREER
                                            UNITED STATES DISTRICT JUDGE




                                       2


Case 2:08-cv-00296-JRG-WBC   Document 159    Filed 03/11/10   Page 2 of 2   PageID
                                   #: 921
